                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                         Plaintiff,               )
                                                  )
vs.                                               )       Case No. 05-6032-07-CR-W-GAF
                                                  )
ROBYN SNELL,                                      )
                                                  )
                         Defendant.               )

                                                 ORDER

        Now pending before the Court is Defendant’s Motion for Examination to Determine

Competency to Stand Trial. On November 3, 2006, United States Magistrate Judge Sarah W. Hays

held a hearing on the motion to determine competency. The parties stipulated to the report prepared

by Dr. Delany Dean. United States Magistrate Judge Sarah W. Hays issued her Report and

Recommendation on November 6, 2006.

        Upon careful and independent review of the record, as well as the applicable law, and there

being no objections filed to the Report and Recommendation, this Court hereby adopts and

incorporates as its own Opinion and Order the Report and Recommendation of United States

Magistrate Judge Sarah W. Hays.

        Accordingly, it is

        ORDERED that Defendant Robyn Snell is not currently suffering from a mental disease or

defect which would prevent her from understanding the nature and consequences of the proceedings

against her or assisting in her own defense and that she is competent to stand trial.




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                                              /s/ Gary A. Fenner
                                              GARY A. FENNER, JUDGE
                                               United States District Court

DATED: November 29, 2006




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